Case 1:11-cv-00472-WMS-LGF Document 30-3 Filed 01/24/12 Page 1 of 6

EXHIBIT B
Case 1:11-cv-00472-WMS-LGF Document 30-3 Filed 01/24/12 Page 2 of 6

 

Jeremy Colby

From: Ball, Timothy [tball@ch.ci.buffalo.ny.us]

Sent: Tuesday, January 24, 2012 10:25 AM

To: Thomas Lane

Ce: "Terrence M. Connors’

Subject: RE: Activity in Case 1:11-cv-00472-WMS NRP Holdings LLC et al v. City of Buffalo et al Order
Tom,

Please be advised that we’ve been unable to obtain the consent of our clients to adjourn the dates in the Court’s
Scheduling Order and | don’t anticipate having the occasion to revisit the issue today.

Tim Ball

Mee ae ea eB Ba ea A He aR He Rea AB aE RR AB ae Re A Ne a a aR a ee ae eR aE Ho ab

Timothy A. Ball

Assistant Corporation Counsel
City of Buffalo Department of Law
1102 City Hall

65 Niagara Square

Buffalo, NY 14202

Tel: (716) 851-4318

Fax: (716) 851-4105

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From: Thomas Lane [mailto:tlane@websterszanyi.com]

Sent: Tuesday, January 24, 2012 9:59 AM

To: Terrence M. Connors

Cc: Ball,Timothy

Subject: RE: Activity in Case 1:11-cv-00472-WMS NRP Holdings LLC et al v. City of Buffalo et al Order

Terry and Tim,

We plan to file a request for an extension of time to respond with the Court this morning. Unless we
hear different from you, we will advise the Court that your clients have refused to consent to this
routine request.

Regards,

‘Thomas S. Lane
Partner
Case 1:11-cv-00472-WMS-LGF Document 30-3 Filed 01/24/12 Page 3 of 6

1400 Liberty Building
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Fax — (716) 845-6709

E- tlane@websterszanyi.com
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From: Thomas Lane

Sent: Monday, January 23, 2012 1:42 PM

To: Terrence M. Connors

Cc: "Ball, Timothy (tball@ch.ci.buffalo.ny.us)'

Subject: RE: Activity in Case 1:11-cv-00472-WMS NRP Holdings LLC et al v. City of Buffalo et al Order

Terry,

Thanks for your response. Unfortunately, due to the very tight time frame, we will need to file a
motion for an extension if we cannot agree by early tomorrow morning. thanks.

Thomas S. Lane
Partner

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From: Terrence M. Connors [mailto:tmc@connors-vilardo.com]
Sent: Monday, January 23, 2012 1:27 PM
To: Thomas Lane

Cc: 'Ball,Timothy (tball@ch.ci.buffalo.ny.us)’
Subject: RE: Activity in Case 1:11-cv-00472-WMS NRP Holdings LLC et al v. City of Buffalo et al Order

Tom:
Case 1:11-cv-00472-WMS-LGF Document 30-3 Filed 01/24/12 Page 4 of 6

| have heard from Tim that there is client opposition to any extension. | called this morning to set up a meeting with
all clients to discuss. | have not heard back yet.
i will let you know as soon as | make contact.

Terrence M. Connors, Esq.
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716-852-5649 (Fax)
tmce@connors-vilardo.com

www.connors-vilardo.com

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From: Thomas Lane [mailto:tlane@websterszanyi.com]
Sent: Monday, January 23, 2012 1:01 PM

To: Thomas Lane
Cc: Terrence M. Connors; ‘Ball, Timothy (tball@ch.ci.buffalo.ny.us)'
Subject: RE: Activity in Case 1:11-cv-00472-WMS NRP Holdings LLC et al v. City of Buffalo et al Order

Terry and Tim — will you be able to reply to my request in the email below sometime today?

Regards,

Thomas S. Lane
Partner

 

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From: Thomas Lane

Sent: Friday, January 20, 2012 3:44 PM

To: ‘Terrence M. Connors’; ‘Ball, Timothy (tball@ch.ci.buffalo.ny.us)'

Subject: FW: Activity in Case 1:11-cv-00472-WMS NRP Holdings LLC et al v. City of Buffalo et al Order

Terry and Tim,

| received the Court's briefing schedule and need to ask you for the courtesy of an extension of time
to respond. | just returned from an out of town work trip and have deposition preparation all next

3
Case 1:11-cv-00472-WMS-LGF Document 30-3 Filed 01/24/12 Page 5 of 6

week followed by two weeks of out of town depositions in NDNY case. As a result, will you agree to
extend our time to submit answering papers to February 20? We will certainly provide you with
additional time for your reply. Please advise if this is agreeable and, if so, | will prepare a stipulation.

Regards,

Tom

‘Thomas S. Lane
Partner

 

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From: webmaster@nywd.uscourts.gov [mailto:webmaster@nywd.uscourts.gov]

Sent: Friday, January 20, 2012 1:58 PM

To: Courtmail@nywd.uscourts.gov

Subject: Activity in Case 1:11-cv-00472-WMS NRP Holdings LLC et al v. City of Buffalo et al Order

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U.S. District Court, Western District of New York
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Case Number: 1:11-cv-00472-WMS
Filer:
Case 1:11-cv-00472-WMS-LGF Document 30-3 Filed 01/24/12 Page 6 of 6

Document Number: 29(No document attached)

Docket Text: .

SCHEDULING NOTICE on [26] [27] Motions to Dismiss. Responses due by 1/30/2012. Replies
due by 2/9/2012. Oral Argument will be scheduled by the Court as necessary. (MEAL)
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Daniel C. Oliverio doliveri@hodgsonruss.com, efilinebflo@hodgsonruss.com, nmergenh@hodgsonruss.com
Terrence M. Connors tme@connors-vilardo.com, alb@connors-vilardo.com

Nelson Perel nperel(@websterszanyi.com, drivas(@websterszanyl.com

Thomas S, Lane tlane@websterszanyi.com, ldilena@websterszanyi.com

James W. Grable, Jr jwg@connors-vilardo.com, vs@connors-vilardo.com

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